                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


 ALEKSEJ GUBAREV,
 XBT HOLDING S.A., and
 WEBZILLA, INC.                                                       Case No.
   Plaintiffs,
                                                                 0:17-cv-60426-UU
 v.

 BUZZFEED, INC. and
 BEN SMITH
   Defendants.


                            PLAINTIFFS’ NOTICE OF APPEAL
       The above-named Plaintiffs, Aleksej Gubarev, XBT Holding S.A., and Webzilla, Inc.,

hereby provide notice of their appeal, from the judgments and orders of the United States District

Court for the Southern District of Florida, including but not limited to the Court’s Order of

February 28, 2019 (D.E. 431) allowing New York Times’ Motion to Intervene and for Access to

Judicial Records and the Court’s Order of January 23, 2019 (D.E. 419) on Notice of

Supplemental Authority filed by XBT Holdings S.A., Webzilla, Inc., Aleksej Gubarev.
Dated: March 4, 2019

Respectfully Submitted:

/s/ Evan Fray-Witzer
Evan Fray-Witzer (pro hac vice)
CIAMPA FRAY-WITZER, LLP
20 Park Plaza, Suite 505
Boston, Massachusetts 02116
Telephone: 617-426-0000
Facsimile: 617-423-4855
Evan@CFWLegal.com

/s/ Valentin Gurvits
Valentin D. Gurvits (pro hac vice)
Matthew Shayefar (Fla. Bar No. 0126465)
BOSTON LAW GROUP, PC
825 Beacon Street, Suite 20
Newton Centre, Massachusetts 02459
Telephone: 617-928-1804
Facsimile: 617-928-1802
vgurvits@bostonlawgroup.com
matt@bostonlawgroup.com

/s/ Brady J. Cobb
Brady J. Cobb (Fla. Bar No. 031018)
Dylan Fulop (Fla. Bar No. 123809)
COBB EDDY, PLLC
1112 North Flagler Drive
Fort Lauderdale, Florida 33304
Telephone: 954-527-4111
Facsimile: 954-900-5507
bcobb@cobbeddy.com
dfulop@cobbeddy.com

Attorneys for Plaintiffs
                                CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing was served electronically via
the CM/ECF electronic filing system on all counsel or parties of record on the service list below
on March 4, 2019.


                                                     /s/ Matthew Shayefar
                                                     Matthew Shayefar


                                        SERVICE LIST

Katherine M. Bolger
Adam Lazier
Cary McClelland
Davis Wright Tremaine, LLC
1251 Avenue of the Americas, 21st Floor
New York, New York 10020
katebolger@dwt.com
adamlazier@dwt.com
carymcclelland@dwt.com

Nathan Siegel
Alison Schary
Davis Wright Tremaine LLP
1919 Pennsylvania Avenue, Suite 800
Washington, DC 20006
nathansiegel@dwt.com
alisonschary@dwt.com

Roy Eric Black
Jared M. Lopez
Black Srebnick Kornspan & Stumpf
201 S Biscayne Boulevard, Suite 1300
Miami, Florida 33131
rblack@royblack.com
jlopez@royblack.com
